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                                                 #:1900




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 9

10                            UNITED STATES DISTRICT COURT
11                           CENTRAL DISTRICT OF CALIFORNIA
                                        ******
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13 II UNITED STATES OF AMERICA,                  )      CASE NO. 2:24-CR-00091-ODW
14                                               )
                            Plaintiff,           )      DECLARATION OF RICHARD A.
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                                                 )      SCHONFELD IN SUPPORT OF
16                                               )      DEFENDANT'S NOTICE OF
17                                               )      MOTION AND MOTION IN
18 11   V.                                       )      LIMJNE TO PRECLUDE ANY
                                                 )      REFERENECESTO
19
                                                 )      DEFENDANT'S
20 II ALEXANDER Sl\1IRNOV,                       )      ALLEGED DISLOYALTY
21                                               )      [ECF 147 SECOND MOTION IN
                                                 )      LIMINE FILED DEFENDANT] 1
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                            Defendant,           )
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        A Declaration was not submitted with the Motion; however, the deadline for Motions in Limine
28 II is November 1, 2024, and therefore this Declaration is timely filed.
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 1                    DECLARATION OF RICHARD A SCHONFELD
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     I, Richard A Schonfeld, declare as follows:
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     1.      I am an attorney of record for Defendant Alexander Smimov in the above-
 4

 5   captioned case. I have personal knowledge of the matters contained in this
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     declaration, and, if called as a witness to testify, I would competently testify to
 7
     them. This declaration is offered in support of the Defendant' s second filed Motion
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 9   in LiJ.nine to Preclude Any References to Defendant's Alleged Disloyalty (DKT
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     147).
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12 11 2.     On October 22, 2024, counsel for Mr. Smirnov sent counsel for the

13   government an email seeking the government's position on this motion. Counsel
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     for the government subsequently advised that the government opposed this Motion.
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     3.      The Defendant will suffer prejudice if this Motion in Limine is denied and
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17 II the government is permitted to introduce evidence of the Defendant allegedly

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     being disloyal to the United States Government, as such evidence is irrelevant
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2011 under Federal Rule of Evidence 401, inadmissible under Federal Rule of Evidence

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 111 402, and would cause unfair prejudice under Federal Rule of Evidence 403.
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          Executed this 1st day ofNovember, 2024, in Las Vegas, Nevada.
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4                                        Respectfully Submitted:

 5                                        CHESNOFF & SCHONFELD
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7                                        RIe!IARD A. SCHONFELD
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